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     I, Chris Daniel, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this October 30, 2018


     Certified Document Number:        82145188 Total Pages: 13




     Chris Daniel, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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